            Case 1:20-cv-10832-AT-SN Document 133 Filed 04/22/21 Page 1 of 1




                                                               April 22, 2021



VIA ECF AND EMAIL
Hon. Analisa Torres
United States District Judge
Southern District of New York
500 Pearl Street
New York, N.Y. 10007

Re:    SEC v. Ripple Labs, Inc. et al., No. 20 Civ. 10832 (AT) (SN) (S.D.N.Y.)

Dear Judge Torres:

Plaintiff Securities and Exchange Commission (“SEC”) respectfully notes that it is filing under seal two legal
memos at issue in this case (Exhibits B and C to the Declaration of Daphna A. Waxman in support of the
SEC’s Motion to Strike Defendant Ripple Labs, Inc.’s (“Ripple”) fourth affirmative defense) (the “Legal
Memos”), solely because Defendant Christian Larsen’s request to seal the Legal Memos in connection with
his motion to dismiss (D.E. 104 (Larsen letter motion to seal legal memoranda); D.E. 105 (Larsen motion to
dismiss)) remains pending. 1 Moreover, should Ripple wish to file its own request to seal the Legal Memos
now that the SEC is relying on them in its motion to strike, the SEC does not oppose Ripple’s filing such a
sealing request simultaneously with its opposition to the SEC’s motion to strike. If the Court grants any
such request by Ripple, the SEC respectfully requests that it be permitted to file any opposition to such a
motion to seal simultaneously with the SEC’s reply brief on its motion to strike.


                                                               Respectfully submitted,


                                                               Jorge G. Tenreiro

cc:    All counsel (via ECF)




1
 On April 16, 2021, the Court permitted the SEC to file its response, if any, to Larsen’s sealing request on
May 14, 2021, together with the SEC’s opposition to Larsen’s motion to dismiss (D.E. 117).
